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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA


Angela Powell,                                        Case No. 17-cv-5081-JNE-KMM

                    Plaintiff,

v.
                                                       NOTICE OF
Synchrony Bank, N.A.,                             PRETRIAL CONFERENCE

                    Defendant.


      Pursuant to Rule 16(a) of the Federal Rules of Civil Procedure, a pretrial
conference will be held on January 9, 2018, at 2:00 p.m. in Courtroom 8E in the
United States Courthouse, 300 South 4th Street, Minneapolis, MN 55415, before
United States Magistrate Judge Kate Menendez.
     Counsel must review the amendments to the Federal Rules of Civil
Procedure that are effective December 1, 2015, and be familiar with the
amendments before their 26(f) meeting and the Rule 16 Pretrial Conference.
        Counsel must meet before the scheduled pretrial conference pursuant to
Rule 26(f) of the Federal Rules of Civil Procedure under Local Rule 26.1. No later
than three business days prior to the pretrial conference, the parties must prepare and
file a joint Rule 26(f) Report in compliance with the rules using the attached Rule 26(f)
template. A copy of the 26(f) Report in Word format should be emailed to Magistrate
Judge Menendez at menendez_chambers@mnd.uscourts.gov at the time of the joint
filing.
      In addition to the Rule 26(f) Report, each party must email to Magistrate
Judge Menendez’s chambers a 1-2 page confidential letter setting forth what
settlement discussions have taken place, whether the party believes an early
settlement conference would be productive, and what discovery might be
needed prior to such a conference.




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       The parties’ Rule 26(f) Report must include a proposed discovery plan as
required by Rule 26(f) of the Federal Rules of Civil Procedure and Local Rule 26.1.
The parties must review and address each of the matters set forth in Fed. R. Civ.
P. 26(f)(3)(A)–(F) and design a discovery plan that is appropriate for the
circumstances of this case. The parties should prepare their proposed plan using the
attached Rule 26(f) template, and the details of the discovery plan should be set forth
in the Rule 26(f) Report. The discovery schedule and limitations included in the
template are intended to guide the parties and should be useful in the ordinary case.
However, the parties are encouraged to reach agreement upon, and suggest to the
Court, a discovery plan that takes into account the unique circumstances of the
individual case.

       To the extent that the parties cannot reach agreement on any particular item
regarding scheduling or discovery, they should set forth their separate positions in the
Rule 26(f) Report for discussion at the pretrial conference.
       Counsel who will be trying the case should be present for the conference and
have authority to discuss all aspects of the 26(f) Report and scheduling conference
topics. If this is not possible, substitute counsel with knowledge about the case and
Report should be arranged.
      In person appearances at the Rule 16 conference are strongly favored. Any
request to participate by telephone must be made by contacting Courtroom
Deputy/Judicial Assistant, Kathy Thobe, at 612-664-5140, no later than three
business days prior to the pretrial conference.
      If any party does not have counsel of record in this case, it is the responsibility
of counsel for the plaintiff to immediately notify that party and counsel of this
conference and of the requirements set forth in this notice.
       Failure of any party or counsel to comply with any part of this Notice,
including timely submission of the Rule 26(f) Report and settlement letter to
Magistrate Judge Menendez, may result in the postponement of the pretrial
conference, an imposition of an appropriate sanction on the party, company, or
attorney who failed to comply, or both.




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      Counsel should contact Magistrate Judge Menendez’s Courtroom
Deputy/Judicial Assistant, Kathy Thobe, at 612-664-5140, with respect to any matters
concerning the pretrial conference.


Date: November 14, 2017                      s/ Kathy Thobe
                                             Kathy Thobe
                                             Judicial Assistant/Courtroom Deputy




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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA

***,                                                   Case No. **-cv-*****-*** -KMM

                    Plaintiff,
                                                       RULE 26(f) REPORT
v.                                                       [TEMPLATE]

***,

                    Defendant.


       The parties/counsel identified below conferred as required by Fed. R. Civ.
P. 26(f) and the Local Rules on _____________ and prepared the following report.
      The initial pretrial conference required under Fed. R. Civ. P. 16 and LR 16.2 is
scheduled for __________, 20__, before the United States Magistrate Judge Kate
Menendez in Courtroom 8E of the U.S. Courthouse in Minneapolis, Minnesota.
      Counsel have reviewed the amendments to the Federal Rules of Civil
Procedure effective December 1, 2015, and are familiar with the amendments.

DESCRIPTION OF THE CASE
          1. Concise factual summary of plaintiff’s claims:

          2. Concise factual summary of defendant’s claims/defenses:
          3. Statement of jurisdiction (including statutory citations):
          4. Summary of factual stipulations or agreements:

          5. Statement of whether a jury trial has been timely demanded by any party:
          6. Statement as to whether the parties agree to resolve the matter under the
             Rules of Procedure for Expedited Trials of the United States District
             Court, District of Minnesota, if applicable:




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         7. Statement as to whether all process has been served, all pleadings filed
            and any plan for any party to amend pleadings or add additional parties
            to the action:

FACT DISCOVERY
       Having conferred about the unique needs of this case, and mindful of the goal
of efficiency, the parties recommend that the Court establish the following fact-
discovery deadlines and limitations:
         1. The parties must make their initial disclosures under Fed. R. Civ. P.
            26(a)(1) on or before ___________. If the parties plan to disclose
            documents by a description by category and location of documents, they
            will exchange copies of initial disclosure documents on or before
            ___________.
         2. The parties must commence fact discovery in time to be completed by
            ___________. The parties will discuss whether a date for the substantial
            production of documents should be set within the fact-discovery period
            to facilitate the taking of depositions.
         3. The parties have discussed the scope of discovery, including relevance
            and proportionality, and propose that the Court limit each side’s use and
            numbers of discovery procedures as follows:

                a. ___ interrogatories
                b. ___ document requests

                   The parties understand that objections to document requests must
                   meet the requirements of amended Rule 34(b)(2)(B). If the
                   responding party is producing copies of documents or copies of
                   electronically stored information and the copies are not produced
                   with the responses, another reasonable time must be specified in
                   the response. If the requesting party disagrees that this is
                   reasonable, the parties must meet and confer to agree on the
                   timetable for production.

                c. ___ requests for admission


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                The parties have discussed a protocol for the authentication of
                documents and agree on the following:

            d. ___ factual depositions
            e. The parties have discussed the taking of depositions pursuant to
               Rule 30(b)(6) and present the following agreement:
            f. ___ Rule 35 medical examinations, which will be completed by
               _________

            g. ___ other
EXPERT DISCOVERY
      1. The parties anticipate that they [will/will not] require expert witnesses
         at the time of trial.
            a. The plaintiff anticipates calling ________ (number) experts in the
               fields of: __________________
            b. The defendant anticipates calling ________ (number) experts in
               the fields of: __________________
      2. The parties propose that the Court establish the following plan for
         expert discovery:

            a. Initial experts
                    i. The identity of any expert who may testify at trial regarding
                       issues on which the party has the burden of persuasion
                       must be disclosed on or before _____________
                   ii. The initial expert written report completed in accordance
                       with Fed. R. Civ. P. 26(a)(2)(B) must be served on or
                       before ________
            b. Rebuttal experts
                    i. The identity of any experts who may testify in rebuttal to
                       any initial expert must be disclosed on or before ________



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                   ii. Any rebuttal expert’s written report completed in
                       accordance with Fed. R. Civ. P. 26(a)(2)(B) must be served
                       on or before __________
      3. All expert discovery, including expert depositions, must be completed by
         _______________

OTHER DISCOVERY ISSUES
      1. Protective Order
         The parties have discussed whether they believe that a protective order is
         necessary to govern discovery and jointly submit a [proposed
         protective order/report identifying any areas of disagreement].
         (The parties are encouraged, though not required, to use protective order
         template available on the District’s website as a template for a proposed
         protective order.)

      2. Discovery of Electronically Stored Information
               The parties have discussed the scope of electronic discovery,
               including relevance and proportionality, and any issues about
               preserving electronic discovery. The parties have also discussed
               the form or forms in which electronic discovery should be
               produced. They inform the Court of the following agreements or
               issues: ____________________

               The Court refers counsel to “Discussion of Electronic Discovery
               at Rule 26(f) Conferences: A Guide for Practitioners,” developed
               by the Federal Practice Committee, to help attorneys and parties
               prepare for a meaningful discussion of electronic discovery issues
               early in the litigation. The Guide is available on the Court’s
               website under the Court Forms tab, in the “Pretrial, Discovery,
               and Trial Forms” section.

               The parties will further meet and confer by _____________ to
               discuss their plan or formal protocol for electronic discovery.
               They agree to present any disputes regarding an electronic
               discovery plan and protocol to the Court by _____________

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       3. Claims of Privilege or Protection
          The parties have discussed issues regarding the protection of
          information by a privilege or the work-product doctrine, as required by
          Fed. R. Civ. P. 26(f)(3)(D). This discussion included whether the parties
          agree to a procedure to assert these claims after production or have any
          other agreements under Fed. R. Evidence 502. The parties:
              a. Request the Court to include the following agreement in the
                 scheduling order ______________; or

              b. Will include their agreement in the proposed Protective Order
       4. The parties:
           Agree that a party should be required to request an informal
            conference with the Court before filing any discovery motion;
           Agree that a party should not be required to request an informal
            conference with the Court before filing a discovery motion; or
           Do not agree whether a party should be required to request an
            informal conference with the Court before filing a discovery motion
          Before moving for an order relating to discovery, the movant must
          request a conference with the Court by calling Wendi Tilden, Courtroom
          Deputy/Judicial Assistant to Magistrate Judge Menendez, at 612-664-
          5140

PROPOSED MOTION SCHEDULE
    The parties propose the following deadlines for filing motions:

       1. Motions seeking to join other parties must be filed and served by
          ________
       2. Motions seeking to amend the pleadings must be filed and served by
          ________

       3. Non-dispositive motions:



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                 a. All non-dispositive motions relating to fact discovery must be
                    filed and served by _________
                 b. All other non-dispositive motions, including motions relating to
                    expert discovery, must be filed and served by _________
             The parties must meet and confer to resolve all discovery disputes and
             other non-dispositive issues prior to filing any motions.

          4. All dispositive motions must be filed, served, and heard by
             ___________

TRIAL-READY DATE
          1. The parties agree that the case will be ready for trial on or after
             _________

          2. The anticipated length of the [select one – bench/jury] trial is ___days
          3. The parties propose that the final pretrial conference be held on or
             before __________

INSURANCE CARRIERS/INDEMNITORS
      List all insurance carriers/indemnitors, including limits of coverage of each
defendant or statement that the defendant is self-insured:
SETTLEMENT
       The parties discussed settlement [before/at] the Rule 26(f) meet-and-confer
and each party has contemporaneously e-mailed a confidential letter setting forth what
settlement discussions have taken place and whether the party believes an early
settlement conference would be productive, as provided in Magistrate Judge
Menendez’s Notice of Pretrial Conference.

TRIAL BY MAGISTRATE JUDGE
      The parties [have/have not] agreed to consent to jurisdiction by the
Magistrate Judge under 28 U.S.C. § 636(c). (If the parties agree to consent, file the
consent with the Rule 26(f) Report.)




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DATE: _______________               ______________________________
                                    Plaintiff’s Counsel
                                    License #
                                    Address
                                    Phone #

DATE: _______________               _______________________________
                                    Defendant’s Counsel
                                    License #
                                    Address
                                    Phone #




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